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Reg. No. 2,232,024           Board of Trustees of the University of Illinois (ILLINOIS body politic and corporate )
                             352 Henry Administration Building
Registered Mar. 16, 1999     506 South Wright Street
                             Urbana, ILLINOIS 61801
Corrected Jun. 02, 2020      CLASS 25: Clothing, namely, [ aprons, adult and children's ] jackets, and vests, men's shirts,
                             sport shirts, ties, [ night shirts, ] Ladies' tops, [ adult and children's jerseys, ] caps, sport caps,
Int. Cl.: 25                 visor caps, ski caps, scarves, sweaters, ponchos, [ gloves, mittens, ] golf sweaters, ladies' and
                             men's and children's t-shirts, [ baseball shirts, ] football shirts, [ football-style jerseys, ladies'
Service Mark                 and mens's shorts, socks, ] adult and children's warm-up suits, baby sleepers, baby shirts, [
                             western hats, ] tennis hats, [ wrist-bands and sweatbands ]
Trademark
                             FIRST USE 12-13-1994; IN COMMERCE 12-13-1994
Principal Register
                             The mark consists of a stylized design of an American Indian man wearing a war bonnet.

                             The lining shown in the drawing is a feature of the mark and is not intended to indicate color.

                             SER. NO. 75-415,168, FILED 01-08-1998
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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